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   UNITED STATES DISTRICT COURT
   EASTERN DISTRICT OF NEW YORK
    – – – – – – – – – – – – – –– – – – X
    UNITED STATES OF AMERICA,

                                Plaintiff,               Civil Action No.
            - against -                                  23-CV-0369

    RARE BREED TRIGGERS, LLC; RARE                       (Morrison, J.)
    BREED FIREARMS, LLC; LAWRENCE                        (Levy, M.J.)
    DEMONICO; KEVIN MAXWELL,

                             Defendants.

    – – – – – – – – – – – – – –– – – – X

                    [PROPOSED] STIPULATION AND ORDER FOR THE
                    PROTECTION OF MATERIALS AND INFORMATION

         WHEREAS, in order to permit the parties to discover certain such information and

  documents relevant to the subject matter of this case without making this confidential or

  privileged information public, the Court hereby enters this Stipulation and Order for the

  Protection of Materials and Information (“Order”) pursuant to Rule 26(c) of the Federal Rules of

  Civil Procedure and 5 U.S.C. § 522a(b)(11), for the purposes of assuring the protection and

  confidentiality of such information and materials;

         NOW THEREFORE, IT IS HEREBY STIPULATED AND AGREED, by and between

  the parties, through their counsel, as follows:

         (a) The following materials and information may be designated as “confidential”

  provided such materials are not public and have not previously been disclosed by the producing

  party to anyone except those in its employment or those retained by it, including, but not limited

  to: Sensitive Commercial Data, such as confidential or proprietary research, development,

  manufacturing, or commercial or business information, trade secrets, special formulas, company

  security matters, customer lists, financial data, projected sales data, production data, matters
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  relating to mergers and acquisitions, and pricing data; Sensitive Personal Data, such as personal

  identifiers, financial information, tax records, and employer personnel records; Information

  protected from disclosure by the Privacy Act; and Information subject to the law enforcement

  privilege;

         (b) If any party believes a document or information not described in the above paragraph

  should nevertheless be considered confidential, it may make application to the Court pursuant to

  Rule 26(c) of the Federal Rules of Civil Procedure.

         (c) An attorney for the producing party may designate materials or parts thereof as

  confidential by stamping the word “confidential” on each page. If such information or document

  is provided in response to an interrogatory, the attorney may separately append the information

  to the main body of the interrogatory responses, mark such appendices “confidential,” and

  incorporate by reference the appended material into the responses. At the time of a deposition or

  within 10 days after receipt of the deposition transcript, a party may designate as confidential

  specific portions of the transcript which contain confidential matters under the standards set forth

  in paragraph (a) above. This designation shall be in writing and served upon all counsel. No

  objection shall be interposed at deposition that an answer would elicit confidential information.

  Transcripts will be treated as confidential for this 10-day period. Any portions of a transcript

  designated confidential shall thereafter be treated as confidential in accordance with this Order.

  The confidential portion of the transcript and any exhibits referenced solely therein shall be

  bound in a separate volume and marked “Confidential Information” by the reporter.

         (d) Materials designated “confidential” shall be shown only to the attorneys, parties,

  experts, actual or proposed witnesses, court personnel and other persons necessary to review the

  materials for the prosecution or defense of this lawsuit. Each person who is permitted to see



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  confidential materials shall first be shown a copy of this Order and shall further be advised of

  the obligation to honor the confidential designation. Before confidential materials are shown to

  experts, actual witnesses, or proposed witnesses, each person must agree to be bound by this

  Order by signing a document substantially in the form of Exhibit A. If such person refuses to

  sign a document substantially in the form of Exhibit A, the party desiring to disclose the

  confidential information may seek appropriate relief from the Court. The parties agree that any

  discovery material produced in this litigation and designated as confidential or for attorney’s

  eyes only may only be used in connection with this litigation.

         (e) Review of the confidential materials and information by counsel, experts, or

  consultants for the litigants in the litigation shall not waive the confidentiality of the materials or

  objections to production.

         (f) The inadvertent, unintentional, or in camera disclosure of a confidential document and

  information shall not generally be deemed a waiver, in whole or in part, of any party’s claims of

  confidentiality. If at any time prior to trial, a producing party realizes that some portion(s) of the

  discovery material that the party produced should be designated as “confidential,” the party may

  so designate by apprising all parties in writing, and providing that the material has not already

  been published or otherwise disclosed, such portion(s) shall thereafter be treated as confidential

  under this Order.

         (g) If a party believes that a document designated or sought to be designated confidential

  by the producing party does not warrant such designation, the party shall first make a good-faith

  effort to resolve such a dispute with opposing counsel. In the event that such a dispute cannot be

  resolved by the parties, either party may apply to the Court for a determination as to whether the

  designation is appropriate. The burden rests on the party seeking confidentiality to demonstrate



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  that such designation is proper.

         (h) If any court filing incorporates confidential material or would reveal its contents, the

  portions of such filing shall be delivered to the Court in a sealed envelope prominently bearing

  the caption of this action and the label “Confidential. Filed Under Seal.” Counsel shall file

  under seal those and only those specific materials and that deposition testimony designated

  confidential, and only those specific portions of briefs, applications, and other filings that

  contain verbatim confidential data, or that set forth the substance of such confidential

  information, unless independent good cause is demonstrated.

         (i) Within a reasonable period after the conclusion of the litigation, including all appeals,

  all confidential material shall be returned to the respective producing parties or destroyed by the

  recipients.

         (j) In any application to the Court referred to or permitted by this Order, the Court may

  exercise discretion in determining whether the prevailing party in such a dispute may recover

  the costs incurred by it and, if so, the amount to be awarded.

         (k) This Court shall retain jurisdiction over all persons subject to this Order to the extent

  necessary to enforce any obligations arising hereunder.

         (l) Nothing in this Order shall prohibit or limit the United States or any of its agencies or

  employees from using or disclosing materials or information designated as “Confidential” as the

  United States, its agencies and its employees would otherwise be authorized to do by law absent

  entry of the Order.

         (m) This Order does not constitute a waiver of any privilege or defense that any party

  may have regarding the production of the requested materials or information, and cannot be used

  a evidence of a waiver of any production objection, including, but not limited to relevance,



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  undue burden, over breadth, or ambiguity.


                                              BREON PEACE
   Dated: Brooklyn, New York
                                              United States Attorney
          April 12, 2023
                                              Counsel for the United States

                                                     /s/
                                              Michael Blume
                                              Joseph Marutollo
                                              Paulina Stamatelos
                                              Assistant U.S. Attorneys


                                              PACIFIC LEGAL FOUNDATION
   Dated: Arlington, Virginia
                                              Counsel for Defendants
          April 12, 2023
                                                      /s/
                                              Caleb Kruckenberg
                                              Steve Simpson
                                              Pacific Legal Foundation
                                              3100 Clarendon Blvd Suite 1000
                                              Arlington, VA 20036-9005

  SO ORDERED:

  This ____day of _________, 2023



  ____________________________
  HONORABLE NINA R. MORRISON
  United States District Judge
  Eastern District of New York




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                                   EXHIBIT A

             STIPULATION AND ORDER FOR THE PROTECTION OF
           MATERIALS AND INFORMATION ACKNOWLEDGMENT FORM
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  UNITED STATES DISTRICT COURT
  EASTERN DISTRICT OF NEW YORK
    – – – – – – – – – – – – – –– – – – X
    UNITED STATES OF AMERICA,

                              Plaintiff,                Civil Action No.
           - against -                                  23-CV-0369

    RARE BREED TRIGGERS, LLC; RARE                      (Morrison, J.)
    BREED FIREARMS, LLC; LAWRENCE                       (Levy, M.J.)
    DEMONICO; KEVIN MAXWELL,

                            Defendants.

    – – – – – – – – – – – – – –– – – – X


         I, _____________________________, being duly sworn, state that:

           I have been informed by counsel that certain materials or information to be disclosed to
  me in connection with the matter entitled United States of America v. Rare Breed Triggers, LLC,
  Inc., case number 23-CV-0369 (NRM)(RML), have been designated as confidential. I have been
  informed that such materials or information labeled “confidential” are confidential by Order of
  the Court. I hereby agree that I will not disclose any information contained in such materials to
  any other person. I further agree not to use any such information for any purpose other than this
  litigation.

  Print Name: ________________________________________
  Sign Name: ________________________________________
  Dated: ________________________________________

  Signed in the presence of: ________________________________________ (Attorney)
